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                        UNITED STATES DISTRICT COURT
               FOR THE DISTRICT EASTERN DISTRICT OF NEW YORK



MADISON ACQUISITION GROUP, LLC,     :
                        Plaintiff   :                      No. 23-7770
                                    :
                v.                  :
                                    :
LOCAL 259 UNITED AUTO WORKERS,      :
AFL-CIO and INTERNATIONAL UNION     :                      NOTICE OF REMOVAL
AUTOMOBILE, AEROSPACE, AND          :
AGRICULTURAL IMPLEMENT WORKERS :
OF AMERICA, UAW,                    :
                         Defendants :


                                NOTICE OF REMOVAL



       PLEASE TAKE NOTICE THAT Defendant, Local 259, United Auto Workers by its

undersigned counsel, hereby files this Notice of Removal pursuant to 28 U.S.C. § 1441 and 28

U.S.C. § 1446 for removal of the above-captioned litigation from Supreme Court of the State of

New York County of Nassau Index No. 613687/2023 to the United States District Court for the

Eastern District of New York.



       I.      INTRODUCTION

       1.      This action was brought against the Defendant, in the Supreme Court of the State

of New York County of Nassau Index No. 613687/2023 to confirm an arbitration award and seek

attorneys’ fees.
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       II.     PARTIES

       2.      Defendant Local 259, United Auto Workers (“Defendant Union”) is an

unincorporated association commonly referred to as a labor union.

       3.      At all relevant times, Plaintiff was an employer signatory to a collective

bargaining agreement with the Defendant Union.



       III.    PROCEEDINGS TO DATE

       4.      On or about August 23, 2023, Plaintiff filed a Complaint in the (“State Court

Action”). On October 10, 2023, Plaintiff filed an Amended Notice of Verified Petition to

Confirm Arbitration Award.



       IV.     TIMELINESS

       5.      Defendant Union was personally served on October 11, 2023. Defendant Union

timely files this Notice of Removal within thirty (30) days of that acceptance of service as

required by 28 U.S.C. § 1446(b).



       V.      JURISDICTION AND GROUNDS FOR REMOVAL

       6.      Plaintiff has invoked a right covered by a collective bargaining agreement

grievance and arbitration procedure.

       7.      The Court has federal question jurisdiction because Plaintiff's claims are governed

by Section 301(a) and (c) of the Labor Management Relations Act (“LMRA”), 29 U.S.C. §

185(a) and (c), and the Federal Arbitration Act (“FAA”), 9 U.S.C. §1, et seq. As such, this action

may be removed to this Court under 28 U.S.C. § 1441(a). Caterpillar, Inc. v. Williams, 482 U.S.



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386, 392 (1987). A federal question is presented where a civil action arises under federal law. 28

U.S.C. § 1331.

       8.        The present lawsuit is removable from state court to the United States District

Court for the Eastern District of New York pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1441.



       VI.       COPY OF ALL STATE COURT FILINGS

       9.        Pursuant to 28 U.S.C. § 1446(b)(1), a true and correct copy of the State Court

Action Complaint is attached hereto as Exhibit A. A true and correct copy of the Amended

Notice and Verified Petition to Confirm an Arbitration award is attached hereto as Exhibit B. A

true and correct copy of the State Court Action case docket is attached hereto as Exhibit C.



       VII.      CONSENT OF ALL PARTIES

       10.       The only named defendant in this action is responsible for this removal and so the

consent requirement of 28 U.S.C. § 1446(b)(2)(A) has been met.



       VIII. VENUE

       11.       Plaintiff ‘s State Court Action in the Supreme Court of the State of New York

County of Nassau Index was filed in the which is within this judicial district. This Court is thus

the proper venue for removal under 28 U.S.C. §§ 1441(a).



       IX.       NOTICE
       12.       Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be promptly given to Plaintiff and a Notice of the Notice of Removal will be



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promptly filed with the Supreme Court of the State of New York County of Nassau after the

filing of this Notice.



        X.      SUPPLEMENTAL JURISDICTION

        13.     This Court has supplemental jurisdiction of any additional claims pursuant to 28

U.S.C. §§ 1367 and 1441(c).



        XI.     CONCLUSION

        Based on the foregoing, the above-captioned action, now pending in the Supreme Court

of the State of New York County of Nassau Index No. 613687/2023, is removed to this Court

and this Court may proceed as if this case had been originally initiated in this Court.


                                              Respectfully submitted,

                                              CLEARY, JOSEM & TRIGIANI LLP

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October 18, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date indicated below, a true and correct copy of the foregoing

Defendant’s NOTICE OF REMOVAL was served upon counsel for Plaintiff, by electronic mail

and United States Postal Service, regular mail, as follows:

                                   Christopher Smith, Esquire
                                     Trivella & Forte, LLP
                              1311 Mamaroneck Avenue, Suite 170
                                    White Plains, NY 10605
                                   111csmith111@gmail.com


       I hereby certify that upon filing of this NOTICE OF REMOVAL, a true and correct copy

will be promptly e-filed with the NOTICE OF NOTICE OF REMOVAL at the New York

Supreme Court, Nassau County.




                                             /s/ Regina C. Hertzig
                                             Regina C. Hertzig, Esquire
                                             Counsel for Defendant UAW Local 259

October 18, 2023




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